UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Nancy H. Brown, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On December 30, 2022, I caused a true and correct copy of the following documents to be

served via the Court’s ECF system.

         On December 30, 2022, I also caused a true and correct copy of the following documents

to be served via First Class US Mail upon the parties set forth on the service list annexed hereto as

Exhibit A:

         On January 2, 2023, I caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as

Exhibit B.




1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


DOCS_LA:346764.2 18491/002
   Twenty-Third Monthly Fee Statement of Pachulski Stang Ziehl & Jones LLP for Professional
    Services Rendered and Disbursements Incurred as Counsel to the Official Committee of
    Unsecured Creditors for the Period from November 1, 2022 through November 30, 2022
    [Docket No. 1539]

   Twenty-Fifth Monthly Fee Statement of Burns Bowen Bair LLP, Special Insurance Counsel to
    the Official Committee of Unsecured Creditors for Professional Services Rendered and
    Disbursements Incurred for the Period from November 1, 2022 through November 30, 2022
    [Docket No. 1540]

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.



Dated this 2nd day of January, 2023.



                                                      /s/ Nancy H. Brown
                                                      Nancy H. Brown




                                                 2
DOCS_LA:346764.2 18491/002
                                     EXHIBIT A
Service by U.S. First Class Mail

       NAME                   NOTICE NAME                 ADDRESS
 THE ROMAN                   THOMAS RENKER 50 NORTH PARK AVENUE
 CATHOLIC                                  P.O. BOX 9023,
 DIOCESE OF                                ROCKVILLE CENTRE,
 ROCKVILLE CENTRE,                         NY 11571-9023
 NEW YORK

 JONES DAY                   CORINNE BALL   250 VESEY STREET
                             BENJAMIN       NEW YORK, NY 10281
                             ROSENBLUM
                             ANDREW M.
                             BUTLER
 OFFICE OF THE               GREG ZIPES     US FEDERAL BUILDING
 UNITED STATES                              201 VARICK STREET, SUITE 1006
 TRUSTEE                                    NEW YORK, NY 10014




DOCS_LA:346764.2 18491/002
                                      EXHIBIT B
Service by E-Mail

            NAME              NOTICE NAME                EMAIL
 JONES DAY                   CORINNE BALL,   CBALL@JONESDAY.COM;
                             BENJAMIN        BROSENBLUM@JONESDAY.COM;
                             ROSENBLUM,      ABUTLER@JONESDAY.COM
                             ANDREW M.
                             BUTLER,
 OFFICE OF THE UNITED        SHARA CORNELL   SHARA.CORNELL@USDOJ.GOV
 STATES TRUSTEE              GREG ZIPES      GREG.ZIPES@USDOJ.GOV




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